                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )   CASE NO. 3:15-00072-2
                                                  )   JUDGE SHARP
MONTEZ GRAY                                       )


                                             ORDER

        Pursuant to the Designation and Assignment of a Senior United States Judge for Service

in Another Circuit, this case is transferred to the Honorable Marvin Aspen, Senior Judge of the

United States District Court for the Northern District of Illinois for all purposes.

        Defendant’s Motion to Continue Sentencing Hearing (Docket No. 398) is GRANTED.

The sentencing hearing set for February 27, 2017, is hereby continued to be reset by Judge

Aspen

        It is so ORDERED.




                                               KEVIN H. SHARP
                                               UNITED STATES DISTRICT JUDGE




 Case 3:15-cr-00072         Document 399         Filed 02/14/17      Page 1 of 1 PageID #: 934
